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                              IN THE UNITED STATES COURT
                      FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

THE ESTATE OF IMOGENE RIDENOUR
by executrix Billi Jo Volek and
BILLI JO VOLEK,

                         Plaintiffs,

v.                                                              Civil Action No. 1:20-CV-202
                                                                Honorable Judge Keeley
G. RUSSELL ROLLYSON, JR.,
Deputy Commissioner of Delinquent
and Nonentered Lands of Marion County, WV,
in his official and personal capacities, and
WONDERFULLY WILD LLC,

                                Defendants.

                                   CERTIFICATE OF SERVICE

          I, David P. Cook, Jr., counsel for Defendant, G. Russell Rollyson, Jr., do hereby certify

that on November 5, 2020, DEFENDANT G. RUSSELL ROLLYSON, JR.’S RULE 26(a)(1)

DISCLOSURES were served on counsel of record via regular mail. Notice of the filing will be

sent to the parties of record by operation of the Court’s electronic filing system, including

Plaintiff’s counsel, as described below.

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/s/ David P. Cook, Jr.________________
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